  Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 1 of 24 PageID #: 1




                                   UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

Harold Hamilton Sr.,
                                                                      Civil Action No:4:19-cv-327
                            Plaintiff,

                                                                  DEMAND FOR JURY TRIAL



-v.-
AMCOL Systems, Inc.,
Equifax Information Services, LLC.,
Trans Union, LLC.,
Experian Information Solutions, Inc.,

                                Defendant(s).

       Plaintiff Harold Hamilton Sr., (hereinafter, “Plaintiff” or “Hamilton.”), brings this

Complaint by and through his attorney, Shawn Jaffer Law Firm PLLC, against Defendant AMCOL

Systems, Inc. (“AMCOL”), Defendant Experian Information Solutions, Inc. (“Experian”),

Defendant Trans Union, LLC., (“Trans Union”), and Defendant Equifax Information Services,

LLC (“Equifax”), to wit, for violations of 15 U.S.C. § 1681 et seq., commonly known as the Fair

Credit Reporting Act (“FCRA”) and of 15 U.S.C. § 1692 et seq., the Fair Debt Collection Practices

Act (“FDCPA”) against AMCOL.

                                    JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1367, as well as

15 U.S.C. § 1681p et seq.

       2.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), being

that the acts and transactions occurred here, Plaintiff resides here, and Defendant transacts business
  Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 2 of 24 PageID #: 2



here.

        3.       Plaintiff brings this action for damages arising from the Defendants’ violations of

15 U.S.C. § 1681 et seq., commonly known as the Fair Credit Reporting Act (“FCRA”).

        4.       Plaintiff brings this action for damages arising from the Defendant AMCOL’s

violations of 15 U.S.C. § 1692 et seq., the Fair Debt Collection Practices Act (“FDCPA”).

                                               PARTIES

        5.       Plaintiff is a resident of the State of Texas, residing at 3301 NorthStar Rd Apt 627

Richardson TX 75082.

        6.       At all times material hereto, Plaintiff was a “consumer” as said term is defined

under 15 U.S.C. § 1681a(c).

        7.       Defendant Trans Union Information Services, LLC is a consumer reporting agency

as defined by 15 U.S.C. § 1681a(f) and conducts substantial and regular business activities in this

judicial district. Defendant Trans Union is a Delaware corporation registered to do business in the

State of Texas, and may be served with process upon The Prentice-Hall Corporation System, Inc.,

its registered agent for service of process at 211 East 7th Street, Ste 620, Austin, TX, 78701.

        8.       At all times material hereto, Trans Union is a consumer reporting agency regularly

engaged in the business of assembling, evaluating and disbursing information concerning

consumers for the purpose of furnishing consumer reports, as said term is defined under 15 U.S.C.

§ 1681(d) to third parties.

        9.       At all times material hereto, Trans Union disbursed such consumer reports to third

parties under a contract for monetary compensation.

        10.      Defendant Equifax Information Services, LLC is a consumer reporting

agency as defined by 15 U.S.C. § 1681a(f) and conducts substantial and regular business

activities in this judicial district. Defendant Equifax is a Georgia corporation registered to
  Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 3 of 24 PageID #: 3



do business in the State of Texas, and may be served with process upon Corporation Service

Company its registered agent for service of process at 211 East 7th Street, Ste 620, Austin,

TX, 78701.

       11.     At all times material hereto, Equifax is a consumer reporting agency

regularly engaged in the business of assembling, evaluating and disbursing information

concerning consumers for the purpose of furnishing consumer reports, as said term is

defined under 15 U.S.C.§ 1681(d) to third parties.

       12.     At all times material hereto, Equifax disbursed such consumer reports to third

parties under a contract for monetary compensation.

       13.     Defendant Experian Information Solutions, Inc. is a consumer reporting

agency as defined by 15 U.S.C. § 1681a(f) and conducts substantial and regular business

activities in this judicial district. Defendant Experian is an Ohio corporation registered to do

business in the State of Texas, and may be served with process upon CT Corporation System,

its registered agent for service of process at 1999 Bryan Street, Ste 900, Dallas, TX, 75201.

       14.     At all times material hereto, Experian is a consumer reporting agency

regularly engaged in the business of assembling, evaluating and disbursing information

concerning consumers for the purpose of furnishing consumer reports, as said term is

defined under 15 U.S.C.§ 1681(d) to third parties.

       15.     At all times material hereto, Experian disbursed such consumer reports

to third parties under a contract for monetary compensation.

       16.     Defendant AMCOL is a company organized under the laws of the State of

South Carolina and maintains a registered agent in Austin, Texas.

       17.     Defendant AMCOL is a debt collector meaning a person who directly or
  Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 4 of 24 PageID #: 4



indirectly engages in debt collection.

          18.   Defendant AMCOL regularly collects debts from consumers in the State of

Texas.

          19.   Defendant AMCOL engaged in “debt collection” meaning taking an action,

conduct, or practice in collecting, or in soliciting for collection, consumer debts that are due

or alleged to be due to a creditor.

                                      FACTUAL ALLEGATIONS

          20.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully stated herein with the same force and effect as if the same were set forth at length

herein.


                                      Equifax Dispute and Violation


          21.   On information and belief, on a date better known to Defendant Equifax, Equifax

prepared and issued credit reports concerning the Plaintiff that included inaccurate information

relating to the adverse collection account from Defendant AMCOL.

          22.   The inaccurate information furnished by Defendant AMCOL and published by

Defendant Equifax is inaccurate since the Plaintiff account should never have been a collection

account since the account did not belong to Plaintiff.

          23.   Defendants have been reporting this inaccurate information through the issuance of

false and inaccurate credit information and consumer reports that they have disseminated to

various persons and credit grantors, both known and unknown.

          24.   Plaintiff disputed the accuracy of the information Equifax was reporting, on or

around November 9, 2018.
  Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 5 of 24 PageID #: 5



        25.     It is believed and therefore averred that Defendant Equifax notified Defendant

AMCOL of Plaintiff’s dispute.

        26.     Upon receipt of the dispute of the account from the Plaintiff by Equifax, AMCOL

failed to conduct a reasonable investigation and continued to report false and inaccurate adverse

information on the consumer report of the Plaintiff with respect to the disputed account, including

a balance owed.

        27.     Despite the dispute by the Plaintiff that the information on his consumer report was

inaccurate with respect to the dispute account, Equifax did not evaluate or consider any of the

information, claims, or evidence of the Plaintiff and did not make an attempt to substantially

reasonably verify that the derogatory information concerning the disputed account was inaccurate.

        28.     Notwithstanding      Plaintiff’s   efforts,   Defendant   Equifax   sent   Plaintiff

correspondence indicating its intent to continue publishing the inaccurate information and

Defendants continued to publish and disseminate such inaccurate information to other third parties,

persons, entities and credit grantors.

        29.     Defendants’ erroneous reporting continues to affect Plaintiff’s creditworthiness and

credit score.

        30.     As a result of Defendants’ conduct, Plaintiff has suffered a decreased credit score

as a result of the inaccurate information on Plaintiff’s credit file.


                                   Trans Union Dispute and Violation


        31.     On information and belief, on a date better known to Defendant Trans Union, Trans

Union prepared and issued credit reports concerning the Plaintiff that included inaccurate

information relating to the adverse collection account from Defendant AMCOL.
  Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 6 of 24 PageID #: 6



       32.     The inaccurate information furnished by Defendant AMCOL and published by

Defendant Trans Union is inaccurate since the Plaintiff account should never have been a

collection account since the account did not belong to him.

       33.     Defendants have been reporting this inaccurate information through the issuance of

false and inaccurate credit information and consumer reports that they have disseminated to

various persons and credit grantors, both known and unknown.

       34.     Plaintiff disputed the accuracy of the information Trans Union was reporting, on or

around November 9, 2018.

       35.     It is believed and therefore averred that Defendant Trans Union notified Defendant

AMCOL of Plaintiff’s dispute.

       36.     Upon receipt of the dispute of the account from the Plaintiff by Trans Union,

AMCOL failed to conduct a reasonable investigation and continued to report false and inaccurate

adverse information on the consumer report of the Plaintiff with respect to the disputed account,

including a balance owed.

       37.     Despite the dispute by the Plaintiff that the information on his consumer report was

inaccurate with respect to the dispute account, Trans Union did not evaluate or consider any of the

information, claims, or evidence of the Plaintiff and did not make an attempt to substantially

reasonably verify that the derogatory information concerning the disputed account was inaccurate.

       38.     Notwithstanding Plaintiff’s efforts, Defendant Trans Union sent Plaintiff

correspondence indicating its intent to continue publishing the inaccurate information and

Defendants continued to publish and disseminate such inaccurate information to other third parties,

persons, entities and credit grantors.

       39.     As of the date of the filing of the filing of this Complaint, Defendant AMCOL
  Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 7 of 24 PageID #: 7



continues to furnish credit data which is inaccurate and materially misleading, and Defendant

Trans Union’s reporting of the above-referenced trade line continues to be inaccurate and

materially misleading.

        40.     Defendants’ erroneous reporting continues to affect Plaintiff’s creditworthiness and

credit score.

        41.     As a result of Defendants’ conduct, Plaintiff has suffered a decreased credit score

as a result of the inaccurate information on Plaintiff’s credit file.


                                     Experian Dispute and Violation

        42.     On information and belief, on a date better known to Defendant Experian, Experian

prepared and issued credit reports the Plaintiff that included inaccurate information relating to the

adverse collection account from Defendant AMCOL.

        43.     The inaccurate information furnished by Defendant AMCOL, and published by

Defendant Trans Union is inaccurate since the Plaintiff account should never have been a

collection account since this account did not belong to him.

        44.     Defendants have been reporting this inaccurate information through the issuance of

false and inaccurate credit information and consumer reports that they have disseminated to

various persons and credit grantors, both known and unknown.

        45.     Plaintiff disputed the accuracy of the information Experian was reporting, on or

around November 9, 2018.

        46.     It is believed and therefore averred that Defendant Experian notified Defendant

AMCOL of Plaintiff’s dispute.

        47.     Upon receipt of the dispute of the account from the Plaintiff by Experian, AMCOL
  Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 8 of 24 PageID #: 8



failed to conduct a reasonable investigation and continued to report false and inaccurate adverse

information on the consumer report of the Plaintiff with respect to the disputed account, including

a balance owed.

        48.     Despite the dispute by the Plaintiff that the information on his consumer report was

inaccurate with respect to the dispute account, Experian did not evaluate or consider any of the

information, claims, or evidence of the Plaintiff and did not make an attempt to substantially

reasonably verify that the derogatory information concerning the disputed account was inaccurate.

        49.     Notwithstanding     Plaintiff’s   efforts,   Defendant   Experian   sent   Plaintiff

correspondence indicating its intent to continue publishing the inaccurate information and

Defendants continued to publish and disseminate such inaccurate information to other third parties,

persons, entities and credit grantors.

        50.     As of the date of the filing of the filing of this Complaint, Defendant AMCOL

continues to furnish credit data which is inaccurate and materially misleading, and Defendant

Experian’s reporting of the above-referenced trade line continues to be inaccurate and materially

misleading.

        51.     Defendants’ erroneous reporting continues to affect Plaintiff’s creditworthiness and

credit score.

        52.     As a result of Defendants’ conduct, Plaintiff has suffered a decreased credit score

as a result of the inaccurate information on Plaintiff’s credit file.


                                  FIRST CAUSE OF ACTION
                       (Willful Violation of the FCRA as to Trans Union)

        53.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length
  Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 9 of 24 PageID #: 9



herein.

           54.    This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681

et seq.,

           55.    Trans Union violated 15 U.S.C. § 1601(e) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in the preparation of the credit report

and credit files that Trans Union maintained concerning the Plaintiff.

           56.    Trans Union has willfully and recklessly failed to comply with the Act. The failure

of Trans Union to comply with the Act include but are not necessarily limited to the following:

           a)     The failure to follow reasonable procedures to assure the maximum possible

accuracy of the information reported;

           b)     The failure to correct erroneous personal information regarding the Plaintiff after a

reasonable request by the Plaintiff;

           c)     The failure to remove and/or correct the inaccuracy and derogatory credit

information after a reasonable request by the Plaintiff;

           d)     The failure to promptly and adequately investigate information which Defendant

Trans Union had notice was inaccurate;

           e)     The continual placement of inaccurate information into the credit report of the

Plaintiff after being advised by the Plaintiff that the information was inaccurate;

           f)The failure to note in the credit report that the Plaintiff disputed the accuracy of the

information;

           g)     The failure to promptly delete information that was found to be inaccurate, or could

not be verified, or that the source of information had advised Trans Union to delete;

           h)          The failure to take adequate steps to verify information Trans Union had
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 10 of 24 PageID #: 10



reason to believe was inaccurate before including it in the credit report of the consumer.

          57.   As a result of the conduct, action and inaction of Trans Union, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

          58.   The conduct, action and inaction of Trans Union was willful rendering Trans Union

liable for actual, statutory and punitive damages in an amount to be determined by a Judge/ and or

Jury pursuant to 15 U.S.C. § 1681(n).

          59.   The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

          WHEREFORE, Plaintiff, Harold Hamilton Sr., an individual, demands judgment in his

favor against Defendant, Trans Union, for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681(n).


                                   SECOND CAUSE OF ACTION

                       (Negligent Violation of the FCRA as to Trans Union)

          60.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

          61.   This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. §

1681 et seq.,

          62.   Trans Union violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate

information from the credit file of the Plaintiff after receiving actual notice of such inaccuracies

and conducting reinvestigation and by failing to maintain reasonable procedures with which to

verify the disputed information in the credit file of the Plaintiff.
Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 11 of 24 PageID #: 11



       63.      Trans Union has negligently failed to comply with the Act. The failure of Trans

Union to comply with the Act include but are not necessarily limited to the following:

             a) The failure to follow reasonable procedures to assure the maximum possible

                accuracy of the information reported;

             b) The failure to correct erroneous personal information regarding the Plaintiff after a

                reasonable request by the Plaintiff;

             c) The failure to remove and/or correct the inaccuracy and derogatory credit

                information after a reasonable request by the Plaintiff;

             d) The failure to promptly and adequately investigate information which Defendant

                Trans Union had notice was inaccurate;

             e) The continual placement of inaccurate information into the credit report of the

                Plaintiff after being advised by the Plaintiff that the information was inaccurate;

             f) The failure to note in the credit report that the Plaintiff disputed the accuracy of the

                information;

             g) The failure to promptly delete information that was found to be inaccurate, or could

                not be verified, or that the source of information had advised Trans Union to delete;

             h) The failure to take adequate steps to verify information Trans Union had reason to

                believe was inaccurate before including it in the credit report of the consumer.

       64.      As a result of the conduct, action and inaction of Trans Union, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

       65.      The conduct, action and inaction of Trans Union was negligent, entitling the

Plaintiff to damages under 15 U.S.C. § 1681o.
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 12 of 24 PageID #: 12



           66.   The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Trans

Union in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n) and 1681o.

           WHEREFORE, Plaintiff, Harold Hamilton Sr., an individual, demands judgment in her

favor against Defendant, Trans Union, for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681(n).


                                     THIRD CAUSE OF ACTION

                            (Willful Violation of the FCRA as to Equifax)

           67.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

           68.   This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681

et seq.,

           69.   Equifax violated 15 U.S.C. § 1601(e) by failing to establish or to follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit report and credit

files that Equifax maintained concerning the Plaintiff.

           70.   Equifax has willfully and recklessly failed to comply with the Act. The failure of

Equifax to comply with the Act include but are not necessarily limited to the following:

                  a) The failure to follow reasonable procedures to assure the maximum possible

                      accuracy of the information reported;

                  b) The failure to correct erroneous personal information regarding the Plaintiff

                      after a reasonable request by the Plaintiff;

                  c) The failure to remove and/or correct the inaccuracy and derogatory credit
Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 13 of 24 PageID #: 13



                   information after a reasonable request by the Plaintiff;

               d) The failure to promptly and adequately investigate information which

                   Defendant Equifax had notice was inaccurate;

               e) The continual placement of inaccurate information into the credit report of the

                   Plaintiff after being advised by the Plaintiff that the information was

                   inaccurate;

               f) The failure to note in the credit report that the Plaintiff disputed the accuracy

                   of the information;

               g) The failure to promptly delete information that was found to be inaccurate, or

                   could not be verified, or that the source of information had advised Equifax to

                   delete;

               h) The failure to take adequate steps to verify information Equifax had reason to

                   believe was inaccurate before including it in the credit report of the consumer.

       71.    As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

       72.    The conduct, action and inaction of Equifax was willful rendering Equifax liable

for actual, statutory and punitive damages in an amount to be determined by a Judge/ and or Jury

pursuant to 15 U.S.C. § 1681(n).

       73.    The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Equifax

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

       WHEREFORE, Plaintiff, Harold Hamilton Sr., an individual, demands judgment in his

favor against Defendant, Equifax, for damages together with attorney’s fees and court costs
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 14 of 24 PageID #: 14



pursuant to 15 U.S.C. § 1681(n).


                                    FOURTH CAUSE OF ACTION

                           (Negligent Violation of the FCRA as to Equifax)

          74.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

          75.   This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. §

1681 et seq.,

          76.   Equifax violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information

from the credit file of the Plaintiff after receiving actual notice of such inaccuracies and conducting

reinvestigation and by failing to maintain reasonable procedures with which to verify the disputed

information in the credit file of the Plaintiff.

          77.   Equifax has negligently failed to comply with the Act. The failure of Equifax to

comply with the Act include but are not necessarily limited to the following:

          a)     The failure to follow reasonable procedures to assure the maximum possible

 accuracy of the information reported;

          b)     The failure to correct erroneous personal information regarding the Plaintiff after

 a reasonable request by the Plaintiff;

          c)        The failure to remove and/or correct the inaccuracy and derogatory credit

information after a reasonable request by the Plaintiff;

          d)        The failure to promptly and adequately investigate information which

Defendant Equifax had notice was inaccurate;

          e)        The continual placement of inaccurate information into the credit report of the
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 15 of 24 PageID #: 15



Plaintiff after being advised by the Plaintiff that the information was inaccurate;

          f)        The failure to note in the credit report that the Plaintiff disputed the accuracy of

the information;

          g)        The failure to promptly delete information that was found to be inaccurate, or

could not be verified, or that the source of information had advised Equifax to delete;

          h)        The failure to take adequate steps to verify information Equifax had reason to

believe was inaccurate before including it in the credit report of the consumer.

          78.   As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

          79.   The conduct, action and inaction of Equifax was negligent, entitling the Plaintiff to

damages under 15 U.S.C. § 1681o.

          80.   The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Equifax

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n) and 1681o.

          WHEREFORE, Plaintiff, Harold Hamilton Sr., an individual, demands judgment in his

favor against Defendant, Equifax, for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681(n).

                                     FIFTH CAUSE OF ACTION

                           (Willful Violation of the FCRA as to Experian)

          81.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

          82.   This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 16 of 24 PageID #: 16



et seq.,

           83.   Experian violated 15 U.S.C. § 1601(e) by failing to establish or to follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit report and credit

files that Experian maintained concerning the Plaintiff.

           84.   Experian has willfully and recklessly failed to comply with the Act. The failure of

Experian to comply with the Act include but are not necessarily limited to the following:

                  a) The failure to follow reasonable procedures to assure the maximum possible

                     accuracy of the information reported;

                  b) The failure to correct erroneous personal information regarding the Plaintiff

                     after a reasonable request by the Plaintiff;

                  c) The failure to remove and/or correct the inaccuracy and derogatory credit

                     information after a reasonable request by the Plaintiff;

                  d) The failure to promptly and adequately investigate information which

                     Defendant Experian had notice was inaccurate;

                  e) The continual placement of inaccurate information into the credit report of the

                     Plaintiff after being advised by the Plaintiff that the information was

                     inaccurate;

                  f) The failure to note in the credit report that the Plaintiff disputed the accuracy

                     of the information;

                  g) The failure to promptly delete information that was found to be inaccurate, or

                     could not be verified, or that the source of information had advised Experian

                     to delete;

                  h) The failure to take adequate steps to verify information Experian had reason
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 17 of 24 PageID #: 17



                     to believe was inaccurate before including it in the credit report of the

                     consumer.

          85.   As a result of the conduct, action and inaction of Experian, the Plaintiff suffered

damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

          86.   The conduct, action and inaction of Experian was willful rendering Experian liable

for actual, statutory and punitive damages in an amount to be determined by a Judge/ and or Jury

pursuant to 15 U.S.C. § 1681(n).

          87.   The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Experian in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

          WHEREFORE, Plaintiff, Harold Hamilton Sr., an individual, demands judgment in his

favor against Defendant, Experian, for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681(n).

                                    SIXTH CAUSE OF ACTION

                         (Negligent Violation of the FCRA as to Experian)

          88.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

          89.   This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. §

1681 et seq.,

          90.   Experian violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information

from the credit file of the Plaintiff after receiving actual notice of such inaccuracies and conducting

reinvestigation and by failing to maintain reasonable procedures with which to verify the disputed
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 18 of 24 PageID #: 18



information in the credit file of the Plaintiff.

        91.     Experian has negligently failed to comply with the Act. The failure of Experian to

comply with the Act include but are not necessarily limited to the following:

                 a) The failure to follow reasonable procedures to assure the maximum possible

                     accuracy of the information reported;

                 b) The failure to correct erroneous personal information regarding the Plaintiff

                     after a reasonable request by the Plaintiff;

                 c) The failure to remove and/or correct the inaccuracy and derogatory credit

                     information after a reasonable request by the Plaintiff;

                 d) The failure to promptly and adequately investigate information which

                     Defendant Experian had notice was inaccurate;

                 e) The continual placement of inaccurate information into the credit report of the

                     Plaintiff after being advised by the Plaintiff that the information was

                     inaccurate;

                 f) The failure to note in the credit report that the Plaintiff disputed the accuracy

                     of the information;

                 g) The failure to promptly delete information that was found to be inaccurate, or

                     could not be verified, or that the source of information had advised Experian

                     to delete;

                 h) The failure to take adequate steps to verify information Experian had reason

                     to believe was inaccurate before including it in the credit report of the

                     consumer.

        92.     As a result of the conduct, action and inaction of Experian, the Plaintiff suffered
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 19 of 24 PageID #: 19



damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental and

emotional pain, anguish, humiliation and embarrassment of credit denial.

           93.   The conduct, action and inaction of Experian was negligent, entitling the Plaintiff

to damages under 15 U.S.C. § 1681o.

           94.   The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Experian in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n) and 1681o.

           WHEREFORE, Plaintiff, Harold Hamilton Sr., an individual, demands judgment in his

favor against Defendant, Experian, for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681(n).

                                  SEVENTH CAUSE OF ACTION
                    (Willful Violation of the FCRA as to Defendant AMCOL)
           95.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

           96.   This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681

et seq.,

           97.   Pursuant to the Act, all person who furnished information to reporting agencies

must participate in re-investigations conducted by the agencies when consumers dispute the

accuracy and completeness of information contained in a consumer credit report.

           98.   Pursuant to the Act, a furnisher of disputed information is notified by the reporting

agency when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

furnisher must then conduct a timely investigation of the disputed information and review all

relevant information provided by the agency.

           99.   The results of the investigation must be reported to the agency and, if the
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 20 of 24 PageID #: 20



investigation reveals that the original information is incomplete or inaccurate, the information from

a furnisher such as the above listed above must report the results to other agencies which were

supplied such information.

       100.    The Defendant AMCOL violated 15 U.S.C. § 1681s2-b by the publishing of the

Account Liability Representation; by failing to fully and improperly investigate the dispute of the

Plaintiff with respect to the Account Liability Representation; by failing to review all relevant

information regarding same by failing to correctly report results of an accurate investigation to the

credit reporting agencies.

       101.    Specifically, the Defendant AMCOL continued to report this account with a

balance on the Plaintiff’s credit report after being notified of his dispute that this collections

account was not valid and did not belong to him.

       102.    As a result of the conduct, action and inaction of the Defendant AMCOL, the

Plaintiff suffered damage for the loss of credit, loss of the ability to purchase and benefit from

credit, and the mental and emotional pain, anguish, humiliation and embarrassment of credit

denials.

       103. The conduct, action and inaction of Defendant AMCOL was willful, rendering

Defendant AMCOL liable for actual, statutory and punitive damages in an amount to be

determined by a jury pursuant to 15 U.S.C. § 1601(n).

       104. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Defendant

AMCOL in an amount to be determined by the Court pursuant to 15 U.S.C. § 1601(n).

       WHEREFORE, Plaintiff, Harold Hamilton Sr., an individual, demands judgment in his

favor against Defendant AMCOL for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681(n).
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 21 of 24 PageID #: 21



                                      EIGHTH CAUSE OF ACTION

                      (Negligent Violation of the FCRA as to Defendant AMCOL)

           105. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

           106. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681

et seq.,

           107. Pursuant to the Act, all person who furnished information to reporting agencies must

participate in re-investigations conducted by the agencies when consumers dispute the accuracy

and completeness of information contained in a consumer credit report.

           108. Pursuant to the Act, a furnisher of disputed information is notified by the reporting

agency when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

furnisher must then conduct a timely investigation of the disputed information and review all

relevant information provided by the agency.

           109. The results of the investigation must be reported to the agency and, if the investigation

reveals that the original information is incomplete or inaccurate, the information from a furnisher

such as the above-named Defendant must report the results to other agencies which were supplied

such information.

           110. Defendant AMCOL is liable to the Plaintiff for failing to comply with the

requirements imposed on furnishers of information pursuant to 15 U.S.C. § 1681s2-b.

           111. After receiving the Dispute Notice from Trans Union, Experian and Equifax,

Defendant AMCOL negligently failed to conduct its reinvestigation in good faith and continued

to report the false collection account.
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 22 of 24 PageID #: 22



       112. A reasonable investigation would require a furnisher such as Defendant AMCOL to

consider and evaluate a specific dispute by the consumer, along with all other facts, evidence and

materials provided by the agency to the furnisher.

       113. The conduct, action and inaction of Defendant AMCOL was negligent, entitling the

Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

       114. As a result of the conduct, action and inaction of the Defendant AMCOL, the Plaintiff

suffered damage for the loss of credit, loss of the ability to purchase and benefit from credit, and

the mental and emotional pain, anguish, humiliation and embarrassment of credit denials.

       115. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from the

Defendant AMCOL in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1601(n) and 1681o.

       WHEREFORE, Plaintiff, Harold Hamilton Sr., an individual, demands judgment in his

favor against Defendant AMCOL, for damages together with attorney’s fees and court costs

pursuant to 15 U.S.C. § 1681(n).

                                     NINTH CAUSE OF ACTION
            (VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15
                                 U.S.C. §1692c, §1692e, & §1692f et seq.)
   116.        Plaintiff re-alleges and incorporates by reference paragraphs in this complaint as

       though fully set forth herein.

   117.        Defendant’s debt collection efforts against Plaintiff violated various provisions of

       the FDCPA.

   118.        Section §1692c(b) prohibits communication with third parties.

   119.        Section §1692e provides a non-exhaustive list of false, deceptive, and misleading

       conduct prohibited by the statute including:
 Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 23 of 24 PageID #: 23



            (a) A debt collector may not use any false, deceptive, or misleading representation or

                means in connection with the collection of any debt, 15 U.S.C. §1692e;

                      (a)         The false representation of – the character, amount, or legal status

                        of any debt, 15 U.S.C. §1692e(2); and

                      (b)         The use of any false representation or deceptive means to collect or

                        attempt to collect any debt or to obtain information concerning a consumer.

                        15 U.S.C. §1692e(10).

   120.         Section §1692f prohibits a debt collector from using unfair or unconscionable

       means to collect or attempt to collect any debt.

   121.         Defendant violated 15 U.S.C. §1692e, e(2), e(10), and §1692f when Defendant

       attempted to collect the Alleged Debt when it knew or should have known that it did not

       belong to the Plaintiff.

   122.         For these reasons, the Defendant is liable to the Plaintiff for statutory damages,

       costs, and attorney’s fees.

                                   DEMAND FOR TRIAL BY JURY

       123.     Plaintiff demands and hereby respectfully requests a trial by jury for all claims and

issues this complaint to which Plaintiff is or may be entitled to a jury trial.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment from each Defendant as follows:

       a)     For actual damages provided and pursuant to 15 U.S.C. § 1681o(a) be

       awarded for each negligent violation as alleged herein;

       b)     For actual damages provided and pursuant to 15 U.S.C. § 1640(a)(1);

       c)     For Statutory damages provided and pursuant to 15 U.S.C. § 1681n(a);
Case 4:19-cv-00327-ALM Document 1 Filed 05/03/19 Page 24 of 24 PageID #: 24



     d)   For Statutory damages provided and pursuant to 15 U.S.C. § 1640(a)(2);

     e)   For Punitive damages provided and pursuant to 15 U.S.C. § 1681n(a)(2);

     f)   For attorney fees and costs provided and pursuant to 15 U.S.C. §

     1681n(a)(3), 15 U.S.C. § 1681o(a)(2) and 15 U.S.C. § 1640(a)(3); and

     g)   For any such other and further relief, as well as further costs, expenses and

     disbursements of this action as this Court may deem just and proper.


Dated: May 3, 2019                                Respectfully Submitted,

                                                  Shawn Jaffer Law Firm PLLC

                                                  /s/ Shawn Jaffer
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